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Exhibit A
Testimony of Jeffrey Smith
in Peop]e V. Smitb, 15 CR 18796

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MR. ANDRE: Judge, at this moment, the defense
calls Mr. Jeffrey Smith to the stand.

THE COURT: Thank you very mdch, Mr. Andre.

THE DEPUTY SHERIFF: Step u§, remain standing,
face the clerk, and raise year right hand.

(Witness sworn.)

THE COURT: Mr. Smith, like I have been telling
everybody, the micropnone is live. If you talk into
that, everybody will be able to hear you, and it will
be greatly appreciated. Thank you.

Proceed, please.
WHEREUPON,
JEFFREY SMITH,
called as a witness on his own behalf, having been
first duly sworn, under oath was examined and
testified as follows:
DIRECT EXAMINATION

BY MR. ANDRE:

Q. Good morning, Mr. Smith.
A. Good morning.
Q. ln a loud, clear voice, please state your

name for the record spelling your first name for the

madam court reporter, please?

A. My name is Jeffrey Smith, J~e-f~f-r-e-y,

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DEF 000252

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S~m-i-t-h.
Do`you'have any middle names, Mr. Smith?

Q
A; Yes; Lanelle. Jeffrey Lanelle Smith.
Q, Mr. Smith, how old are you?

A

28.

Q. Mr. Smith, will you tell the ladies and
gentlemen of the jury a little bit about your
educational background?

A. I attended Collard High School (phonetic) in
2007. l didn't go right away to college, because my
grandmother was diagnosed with cancer, so I waited.
And then l went in 2010 to lowe Central to play

football. Then her cancer came back, and I went back

home to her.

Q. ,Mr. Smith_l when you say you went back home,
can you please explain to the ladies and gentlemen of
the jury, what do you mean by that?

A. l went back to 4026 West let Place where my
grandmother and grandfather lives.

Q. Is that also where you were raised,

Mr. Smith?
A. Yes.
Q. Can you tell the ladies and gentlemen of the

jury about what is it that you currently do right now,

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DEF 000253

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Mr. Smith, for work?

A. I currently do security at Navy Pier. I work
with the 18th District at Navy Pier.

-Q. and were you working ~~ can you tell me a
little bit about what does it mean to do security at
Navy Pier?

A. Security at Navy Pier is I direct ~“ I direct
traffic, and l do special events for when the »- when
Navy Pier produce special events as
far as *~ they call it breast cancer and private
events.

Q. You said you work with the 18th District.
What are you referring to when you say, the 18th
District?

A. The Chicago VOlice 18th District.

Q~ And in your capacity as a security guard

at Navy Pier, do you have to have any special

clearances?

A. Yes.

Q. Is that to work with any special guests, if
anything?

A. Yes.

Q. Can you please explain to the ladies and

gentlemen, what does that mean?

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DEF 000254

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A. That mean -- well, the badge that I currently
have, special events is; like, for ~~ Navy Pier has a
special room where they have meetings for celebrities

and the mayor and other aldermen. So I do special

'security there.

Once they -- whatever they have going on,
whatever event that‘s there, I be there for security
right along with the Chicago public police.

4 MR. ANDRE: Now, Showing the prosecution what‘s
been previously marked as Defense Exhibit Number l,
your Honor.

May I approach?
THE COURT: Sure, go ahead.
BY MR . ANDRE‘.:

Q. Mr. Smith, do you recognize what l just
placed in front of you?

A. Yes. That’s my security badge.

Q. And when you say your security badge, your
security badge for what?

A. Navy ?ier.

Q. Is that the badge you have to have on when

you‘re at Navy Pier?

A. Yes. lt has to be visible at all times.
Q. Does that badge give you special
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DEF 000255

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clearances?
A. Yes.
Q. Mr. Smith, besides working at Navy Pier, what

do you like to do on your off time?

A. Well, I had just joined New Life Covenant
Church¢ like, three years prior to that, and since
three years prior to that, I had just been going -~
getting myself into church more often.

Q. When you say, three years prior to that, what

time frame are you referring to, Mr. Smith?

A. Like 2012, if I'm not mistaken, is when I
joined.
Q. And at New Life Covenant Church, what if

anything do you do there?

A. I‘m a greeter, and I‘m in the Iron Man‘s
Treatment. It‘s a men‘s ministry.
Q. Mr. Smith, when you say you're a greater at

New Life Covenant Church, what does that mean?
A. Everyone that comes in, if they want a hug, I
great them with a hug and a smile.
MR. ANDRE; Rnd, your Honor, showing you what's
been previously marked as -~ showing the state what‘s
been previously marked as Defense Exhibit Number 2.

'For the record, your Honor, l stand

DEF 000256

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corrected. It might be 4 actually.
May I approach the witness, your Honor?
THE coURT§ ms that your final answer, 4?
MR. ANDRE: res, your Honor. 4 is my final
answer. - v
THE COUR§:' Sure, got it.
Certainlyl» Go ahead. You don't have to ask
my permission. .
MR. ANDRE; Thank you, Judge.
BY MR. ANDRE:

Q. Mr. Smith, can you please explain to the
ladies and gentlemen or the jury what I just put in
front of you?

A. You just put my ~- it‘s a pass letting
everyone know that 1 am a greater at the door.

Q. And does everyone who is part of that church
get this pass?

A. No, not everyone. Only the people that‘s in
the ministry, in the greeting ministry.

Q. How long have you been a greater with the
ministry, Mr. Smith?

A. For a year now.

Q. Mr. Smith¢ I'd like to call your attention »~

you also mentioned the Iron Man's Ministry?

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DEF 000257

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A. Yes.

Q. Can you explain to the ladies and
gentlemen what you did exactly with the Iron Man's
Ministry?

A.. The Iron Man's Ministry is all the men that
actually in the church that joined the church, they
just went away for a retreat -~ when it's night
out, it's like a'meeting, but it's with the church
people.

Q. Calling your attention back to October 8,

2015, do you recall that night approximately 9:15 or

so?

A. Yes.

Q. What, if anything, do you recall from that
night?

A. Well, I was sitting on the front porch. lt
was me and one of my friends‘ lt had just
started raining ~~

Q. One second. When you say you were sitting on
your front porch, what porch are you referring to?

A. 4036 West 21st Place. That's my
grandmother‘s residence.

Q. Your grandmother's residence.

Please continue. You may continue.

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DEF 000258

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A. I was sitting on the porch with my friend,
Christopher. lt had just stopped raining, and he had
left. l continued to sit on the porch, and my sister
had came outside, and she said she wanted to go to the
store.

And when she said she wanted to go to the
store, I told her to wait. Because prior to that,
earlier, l had seen the same police cars continue to
circle the biock, the block that 1 was living at.

And l told her to wait, because I didn‘t know
what was going on. And -~

Q. When you said you told her -- you said your
sister. Who are you referring to when you say your
sister?

A. Secara, Secara Smith (phonetic.)

Q. And after Secara came out, what if anything
did you and Secara do?

A. l preceded to walk down the stairs to go walk
to the store. She was behind me.

Q. You were going to walk to the store for what
purpose if you recall?

A. l don‘t know what purpose. She wanted to go

to the store. l just wanted to walk with her because

I didn't know what was going on.

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DEF 000259

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Q. As you were going down the steps, what if
anything are you doing?
A. I‘m fixing my belt.
.Q. And at this moment, Mr. Smith, are you inside
or outside of your yard?
A. 'I'm inside the yard, l haven‘t made it
outside the yard yet;
Q. 'hs youlre fixing your belt inside your yard,
what if anything occurred?'
A. l was fixing my belt. As I looked up, I
wasn't even all the way out the yard yet. I looked
up, I seen the police car right there. He told me to

put my hands up and get on the ground.

Q. And when the officer said, put your hands up,
get on the ground, if you recall, where exactly was
the officer when he said that?

A. He was still in the car when he said it the
first time.

Q. Was it one officer or two officers who said,
put your hands up?

A. lt was one.

Q. What, if anything, happened after you heard,
put your hands up, get on the ground?

A. l put my hands up, and he said it again. And

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DEF 000260

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l said, for what?
And that's when he got out the car, and he
proceeded towards me.

Q. When the officers got out the car and
proceeded towards you, what if anything did you do?

A. l backed back into the gate. Backed back
into my yard. . 2

Q¢ Now, when the officer got out the car, by the
time he was out of the car, if you recall, where
exactly were you in relation to your front gate?

A. I was in the front -~ l was behind the front
gate in my yard at the time.

Q. And if you recall, what, if anything,
happened with your sister as the officer gets out the
vehicle?

A. She's right behind me.

Q. Explain to the ladies and gentlemen of the
jury what happened next once the officer gets out the
vehicle and tells you again to put your hands up and
get on the ground?

A. _After he told me put my hands up and get on
the ground, and l told him, for what, I backed back
into the yard, After he got out of the car to proceed

towards me and once he got out the car, I backed back

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DEF 000261

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into the yard,
I'm sorry. I'm sorry.
I backed back into the yard, He pushed me.
Once I got to the stairway because I was backing
back, and it‘s a stump right there, and I stumbled,
and he pushed me because he thought I was going
upstairs;
He said; you trying to --
Q Mr. Smith, take your time.
A l'm sorry¢
Q. Are you nervous today?
A Huh? Yes, 1 am very, extremely nervous.

Q. You mentioned that as you were walking

towards the steps, do you recall which officer went
and pushed you?

A. Yes. lt was Frank, the one that was talking
to me from the beginning. The other officer never

said anything to me.

Q. Is that Officer Francone if you recall?
A. Yes.
Q. As Officer Francone -~ is he in front of you

when he pushes you?
A. No, hejs on the side of me at the time.

.Q. And when he pushed you, how did he push

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DEF 000262

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you?

A. He pushed me with both hands.

Q. He pushed you with both hands?

A. Yes. il

Q. What, if anything, happened as he pushes you
with both hanas?` ` v

A. As he pushed me with both hands, I stumbled
back. 'I had on a black hoddie, and I took my hoodie
off. l

Q. And why did you take your hoodie off?

A. Because l wanted to show him I didn‘t have
anything on me. l don’t have anything.

Q. Prior to this officer pushing you,

Mr. Smith, did he explain why it was that you were
being stopped?

A. No. That‘s why l didn‘t let them ~- that's
why I didn‘t listen. Because he never told me what he

grabbed me for. l never was told anything, and that's
why I didn‘t listen, because 1 was scared. l didn‘t
know »~

Q. And after Officer Francone pushed you, how
did you feel then?

A. l was upset.

Q. What, if anything, happened after you tried

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DEF 000263

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to show him that you didn‘t have anything on your

person?

A. He continued to try to grab me and arrest
me.

Q. At that moment, did you know why he was
trying to arrest you?

A. No, l did not.

Q. What, if anything, did you do as this officer
continues to try to grab you and arrest you?

A. I kept resisting. l kept turning away. I
wouldn't let them touch me at all.

Q. And what, if anything, happened as you --
what were you doing with your hands, Mr. Smith?

A. My hands was behind my back at the time.
Every time he reached, l turned away like this, away
from him.

Q. At that moment, Mr. Smith, had you pushed
Officer Francone?

A. No, I haven‘t.

Q, At that moment, Mr. Smith, had you pushed
Officer Zuniga?

A. No.

Q. At that moment, Mr. Smith, had you elbowed

Officer Francone in the face?

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DEF 000264

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A. No.

Q. Mr. Smith, when these two officers got out
their vehicle, what, if anything, did you notice them
wearing?

A. They had on plain clothes.

Q. Did they have --

THE COURT: Quit leading, Counsel.
MR. ANDRE: Sorry, your Honor.
BY MR. ANDRE:

Q. Other than their plain clothes, what, if
anything, else did they have?

A. They was armed with whatever kind of guns

they had. They had on their bulletproof vests, and

that was basically -- that's all I seen was the radio,
the gun, and the bulletproof vest.

Q. So you recognized the radio, the gun, and the
bulletproof vest as soon as they got out their
vehicle?

A. Yeah. Basically, yes,

Q. Did you know they were officers as soon as
they got out of their Vehiole?

A. Yes.

vQ. And, Mr. Smith, while you were in the yard,

what happens next?

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DEF 000265

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A. Well, after they approached me? After they
approached me when l was in the yard, I was telling
them, what did I do? After I took my hoodie off, I
was like, what did 1 do?

l told them l work ¥- I do security with Navy
Pier with the 16th uistrict. lwhat did 1 ao? 1 didn‘t
do nothing.'..

They didn‘t tell me anything. And he kept
trying to reach to grab me, and I kept turning. And
it got to the point, he kept reaching. l ended up ~-
as he approaching me, I’m backing away from him. I'm
backing away from him-around a bush. There's a bush
in my front yard.

And 1 ended up in the corner of the front
yard where the gate is. And after that, that's when
backup was basically on its way there by then. And
then when backup came -~

Q. One second, Mr. Smith.

You mentioned you ended up in the corner of
your yard. ls that what you just said?

A. Yes.

MR. ANDRE: Showing what's previously been
marked, your Honor, as People‘s Number 14.

Your Honor, is it okay if Mr. Smith steps

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DEF 000266

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down?

THE COURT: Sure. Mr. Smith, you can step
down.
BY MR. ANDRE:‘

Q. Mrr Smith, please point to exactly where --
what do you recognize this to be?

A. That's the back entrance of my front yard,

Q. And is this the bush that you mentioned?

A. Yes.

Q. Can you please show the ladies and gentlemen
of the jury by pointing where exactly were you in the
back of the yard?

A. Right_here, right at the gate.

MR. ANDRE: Yonr Honor, may the record reflect
Mr. Smith is pointing to the back gate?
BY MR. ANDRE:

Q. And while you were standing there, where are
your hands if you recall?

A. My hands was up,

Q. Can you please show the ladies and gentlemen
of the jury, how did you have your hands while you
were there?v

A. My hands was up like this.

Q. Mr, Smith, were both of your hands palms

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DEF 000267

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open?
A. Yes.
THE COURT: I‘m sorry. Counsel, have a seat.
Not you, Mr. Andre. Mr..Urdangen.
MR. URDANGEN: I‘m working the computer.
THE COURT: l apologize. 1 thought that was the
only one. My mistake.
MR. ANDRE: Your Honor, showing counsel what‘s
been previously marked as People's Number 10.
THE COURT: Sure.
BY MR. ANDRE:
Q. Mr. Smith, what do you recognize that to be?

A. Tnat‘s the front yard. That‘s the front of

my house.

Q. Can you show the ladies and gentlemen of the
jury where you were when you first observed these
officers you talked about?

A. l was right here.

Q. And, Mr. Smith, do you recognize that
building that's right next to the front yard?

A. Yes. That's my neighbor‘s house.

Q.. When you say, your neighbor, what neighbor

are you referring to?

A. Annette Barry.

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DEF 000268

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MR. ANDRE: Mr. Smith, you can have a
seat.
THE COURT: Lights.
BY MR. ANDRE:
Q. 'Mr; Smith, when we had a picture of your yard

up, you previously »- you testified that your hands

were up?

A. ¥es.

Q. What, if anything, happened as your hands are
up?

A. In the front yard -~ what are you talking,

when I was in front of the house or when l was at the
back entrance?

Q. Going back to where you said you were in the
back gate entrance with your back to the gate, what,
if anything, happened as your hands were up if you
recall?

A. About ~- it was »- l had my hands up, and
I'd say about a good minute or so. Backup had came,
and then when backup came, that's when it was like
maybe six officers in front of me if I‘m not
mistaken. Maybe more than six. I didn‘t know exactly

how many.

And they was telling me to get on the ground.

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DEF 000269

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C . . _ _ '
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And right before 1 was fittin' to -“ 1 was fittin‘ to
get on the ground after so many officers there,
because I didn‘t know what was going on, like, what
was the problem. That's when 1 turned to the side,
and 1 had seen the lady that had the taser, and she
tased me. And it happened just like that.

Q. Mr. Smith, you mentioned when backup came.
Did they tell you why you were -- why they wanted you
on the ground?

A. No, they did not.

Q. You mentioned seeing a lady, and then getting
tased shortly?

A. Yes.

Q. Did you ever hear this lady with the taser
gun say anything to you?

A. No, she did not. 1 only heard the men that
was in front of me talking.

Q. What, if anything, did you hear them say?

A. 1 heard them -- one was saying, get on the
ground. The other one was saying, put your hands up,
keep your hands up,

Q. Mr. Smith,.did you ever hear, get on the
ground or else you‘ll be tased?

A. No, 1 did not.

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DEF 000270

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Q. Did you ever hear the words, taser, taser,

taser, Mr. Smith?
A. No, 1 did not.
Q. And when this officer shot you with the

taser, what, if anything, happened to your body if you

recall?
A. 1 couldn't move. 1 couldn't move at all.
Q. Where on your person did this officer shoot

you with this taser, Mr. Smith?

A. She shot me in the front in my stomach and

right above my crotch.

Q. So the officer shot you in your stomach, you
say?

A. Yes.

Q. And as the officer is shooting you in the

stomach and above your crotch area, can you explain to
the ladies and gentlemen of the jury what’s happening
to your body if you recall?

A. 1 can't explain the feeling. 1 just
couldn't ~» 1 couldn't move. 1 was, like, paralyzed.
1 felt paralyzedv 1 couldn't move.

Q, When this officer shot you with the taser,
did the taser go inside your body?

A. Yes, it did. Yes, it did.

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DEF 000271

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Q. And what, if anything, happened as you had
the taser in your stomach area and near your crotch

area?

A. 1 went to the ground. I went to my knees.
And when 1 went to my knees, they pushed me to the
ground and put the handcuffs on me;

Q. As you were on the ground, where is your --
how is your face in relation to the ground?

A. My face was in the grass at the time, because
one of them had their hands on my head.

Q. And after -# did they then handcuff you,
Mr. Smith? Do you recall?

A. Yes.

Q. What, if anything, happened after you were
handcuffed if you recall?

A. They took me and they put me in the truck, in
the police vehicle, the police truck.

,Q. And after you were in the police truck,
where, if anywhere, did they take you to, Mr. Smith,

if you recall?

A. They took me to the police station.
Q. Do you recall what police station they took
you to?
A. 1t’s on Ogden. 1 don't know -~ 1 too much
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DEF 000272

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don't know the district, but 1 know it’s not too far
from my house.
Q. And what, if anything, happened when you were

brought to the police station, Mr. Smith?

A. They took me, and they put me in the little
cage, and 1 was yelling at them to tell them, man,
take these prongs up out of me, because 1 wanted them
out. 1t was hurting. 1 couldn't make too much moves
because it was hurting. 1 tell them to take the
prongs up out.

And one of the officers, the one that stopped

me, he was, like, canlt you just pull them out? And

he was trying to reach to go pull it, and 1 turned my

back awayc

1 was, like, you‘re not fittin' to pull this
out. You're not fittin‘ to touch me. Call the
ambulance. That's exactly what 1 told him. Call the
ambulance. You‘re not fittin' to touch me.

Q. So when you were put in this cage, as you
described it, the prongs from the taser were still
inside your body?

A. Yes.

Q. And at that point, had you received any sort

of medical assistance?

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DEF 000273

Case: 1:17-Cv-O4902 Document #: 49-1 Filed: 01/10/18 Page 24 of 55 Page|D #:268

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A. No, 1 haven°t.

Q. At that point, had any of the officers asked
you if you needed to go to the hospital, Mr. Smith, if
you recall? 1

A. No, they did not.

Q. What, if anything, happened after you asked
them to call an ambulance, if you recall?

A. They called an ambulance. It finally came,
and they took me to Mt. Sinai.

Q. What happened at Mt. Sinai?

A. 1 was there for maybe about 30, 40 minutes
before they actually took the prongs up out, and then
1 got sent right back to the station.

Q. And when you went back to the police station,
Mr. Smith, did at some point in time you meet with any
detectives?

A. Yes, 1 did.

Q. ,Please tell the ladies and gentlemen of the
jury what, if anything, happened when you met with the
detectives?

MR. ENGEBRETSON: Judge, 1’d object. May 1 have

a sidebar?

THE COURT: Yes.

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DEF 000274

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{WHEBEUPON, the following was
had outside the

presence of the jury:)

` fur coURT= Aii right. Yes?

MR. ENGEBRETSON: Judge, I'd object to eliciting
any statements or conversations that the defendant
had with the detective.

THE COURT: What's your basis?

MR. ENGEBRETSON: 1t's hearsay. He's offering
his own statement.

THE COURT: Yes» He is offering his own

statement on his case“in-chief. 1t's subject to

cross-examination.,

MR. ENGEBRETSON: 1t's an out»of~court statement
made by the defendant.

THE COURT: 1 know. lf they tried to get it in
in your case~in~chief through other witnesses other
than the accused. Definitely. It would be
self~serving, too.

All right. Overruled.

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DEF 000275

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(WHEREUPON, the following was
had in open court, in the

presence of the jury:)

THE COURT: Proceed, Mr. Andre. '
MR. ANDRE:l Thank you, Judge.
BY MR. ANDRE:

Q. Mr. Smith, you started to explain your
meeting with detectives over at the lOth District?

A. Yes. 1 had met with them. He asked me what
happened, and 1 told him what had happened, exactly
what happened, and that was it. He left back out.

Q. Did you ever tell these detectives,

Mr. Smith, that you had pushed any of these officers?

A. No.

Q. Did you ever tell these detectives,

Mr. Smith, that you had elbowed any of these officers?

A. No.

Q. Did you tell the detectives that one of these
officers had pushed you?

A. Yes, 1 did.

_Q. Mr. Smith, just going back to your background

really_quick, you mentioned -~ where do you currently

work just for clarification?

DEF 000276

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Navy Pier.
Do you actively work there right now?

No, 1 don't actively work there now.

What does that mean?

reese

1 can‘t work there now until this case is

over with.
MR. ENGEBRETSON: Objection.
THE COdRT: The answer will be stricken. Move
on, Sustained.
BY MR. ANDRE:
Q. Mr. Smith, at what point in time did you
first find out when -- why you were arrested back on

October 8, 2015?

A. Once the detectives came in there.

Q. Officer Francone ~~ did Officer Francone ever
tell you why you were arrested, Mr. Smith?

A. Not at all.

Q. Did Officer Zuniga over tell you why you were
arrested, Mr. Smith?

A. Not at all.

MR. ANDRE: One second, Mr. Smith.
(Brief pause.)

BY MR. ANDRE:

Q. Mr. Smith, as you stand here today, do have a

DEF 000277

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current job right now?
A. Yes, 1 do.
MR. ENGEBRETSON: Objection.
THE COURT: Overruled.

BY MR. ANDRE:

Q. What is your current job right now?
A. 1 bounce at a nightclub and do construction.
Q. What ~» where do you do this construction,

Mr. Smith?
A. Where?
Q. Yes.
A. 1t varies. Whenever one of the contractors

have a building, that's when 1 get called, and that's

when 1 work.

Q. Mr. Smith, at any point in time on October 8,
2015, did you push Officer Zuniga?

A. Not at all.

Q. At any point in time on October 8, 2015, did
you push Officer Francone?

A. .Not at all.

Q. At any point in time did you elbow Officer
Francone to the face?

A. No, 1 did not.

MR. ANDRE: No further questions.

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DEF 000278

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THE COURT: Thank you.
Cross"examination, State.
cause EXAMINATIQN
sr Ma. ENGEBRETSON:

Q. So, Mr§ Smith, on October Sth at about 9:45
p.m., 2015, you were over at your grandfather's house;
is that correct?(

A. Yes.

Q ls that where you were living at that time?

A No, l was not living there at that time.

Q. Okay. Just visiting your grandpa?
A - Yes.

Q. Now, while you were there, you and your

sister at about 9:45 were outside in front of the
house; correct?

A. We was not in front of the house at that
time.

Q. Okay. At some point, did you and your sister
ever go cut on the to sidewalk together?

A. No.

Q. Your sister wanted to go to a store; is that

correct?
A. Yes.

Q. She was going to buy something?

DEF 000279

Case: 1:17-Cv-04902 Document #: 49-1 Filed: 01/10/18 Page 30 of 55 Page|D #:274

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A. l guess¢
Q. You don't know?
A. 1 don't know. She wanted to go to the store.

1 just wanted to attend her, because 1 didn’t know

what was going on‘

Q. Okayl }And you said you didn‘t know what was
going on because you saw police cars --

A. Yes.

Q. »» earlier in the day?

You're her big brother?

A. Yes.

Q. You wanted to protect her?

A. All the time.

Q. And you wanted to go with her because you

knew it was kind of a dangerous neighborhood; correct?
A. Yes.
Q. There’s shootings?
MR. ANDRE: Objection, Judge.
THE COURT: 0verruled.

BY MR. ENGEBRETSON;

Q. There's shootings in the neighborhood;
correct?
A. Yes.
Q. In fact, was there a ongoing conflict in the
45

DEF 000280

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area?

A. There had recently been some shootings, but 1
don't know if there was any conflicts going on,
Q. But there had recently been shootings in that
area?
MR. ANDRE: Objection, Judge.
BY THE WITNESS:
A. Yes.
THE COURT: Overruled.
BY MR. ENGEBRETSON:
Q. ln addition to the shootings, there are
narcotics that are sold in that area, too; correct?

A. 1 guess as far as that.

Q. You‘re aware of it? And they‘re sold kind of
hand to hand on the street, aren‘t they?

A. 1 don't know about that. 1 don't know
anything about that now.

Q. I'm not saying that you're involved ~-

THE COURT: All right. Move on, State.

BY MR. ENGEBRETSON:

Q. Nonetheless, these are reasons why you were
worried about your sisters right?

A. 1 was worried about more of the shooting than

anything.

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DEF 000281

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Q. Okay, sure.

And in addition, you had seen the police cars
earlier that day?

A. Yes.

Q. So -- and speaking of police, you work with
police officers, or you used to when you worked
security at Navy Pier; correct?

A. Yes. v

Q. Did you have a good relationship with those

police officers?
A. Yes, 1 work with police officers every day

there.

Q. 1 asked you, was it a good relationship or

bad relationship?

A. Yes, great relationship actually.

Q. Okay. And you worked as security when you
were working at Navy Pier; correct?

A. Yes.

Q. So you have to tell people what to do as a
security officer, don't you?

A. No, 1 don't have to tell people what to do.

1 don't tell people what to do.

Q. Do you direct traffic?
A. Yes, 1 direct traffic.
‘47

DEF 000282

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Q. You ask people what to do?

A. No, 1 don't ask people what to do.

Q. So as a security officer, you have never had
to interact with anybody?

A. Yeah, 1 had to interact. That‘s only if they
ask. 1 tell them what to do when they're doing
something wrong, When they need help, that's when 1
assist them. 4

Q. If they're doing something wrong, you tell
somebody what to do?

A. Yes.

Q And they listen to you?

A Yes»

Q. And you expect hem to listen to you?
A Yes, 1 do.

Q. So if you give them an order, you expect them
to follow that order?

A. 1 expect them to follow it, but if they don't
follow it, that's on them.

Q. All right. You‘re not a police officer so

you canft ~-

A. No, 1'm not a police officer. 1 don't
enforce that. 1 don!t tell them what to do or
anything. 1'm just a safety and security officer.

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DEF 000283

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That‘s all 1 do.

Q.

But you understand that there's an importance

of following orders that you give?

A.

Q.

Yes, 1 do understand it.

All right. And even when you work as a

bouncer, you have to give orders, don't you?

A’

Q.

No, not at all.

You have to search people, or do you just

check IDs?

A.

Q.

1 just check IDs and 1 search people.

All right. So you have to check and make

sure people don't have guns; right?

Yes.

All right. Where can people hide guns?
where do people have guns?

Yeah.

Anywhere.

Where do you search them?

1 search everywhere.

Do you search their waistbands?

Yes, 1 do.

That's a place where people most likely carry

Most likely.

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DEF 000284

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Q. All right. So when somebody hides their
waistband from you, as a bouncer, you would be
concerned about that, wouldn‘t you?

A. No. Because as a bouncer, 1 don't check them
inside. 1 check outside._

Q. All right. So if somebody is coming up
to the club and you had to search their waistband and
they refused, you'd be concerned about that;
correct?

A. Well, 1'm just not going to let them in.

Q. You're not going to let them in, because they
might have a gun,_and they're not letting you search
them; right?

A Right.

Q. Did you let the police touch your waistband?

A No, they didn‘t ask.

Q. But you were fumbling with your waistband,
your belt area before they came up to you; right?

A. Yes.

Q. So they could have thought that you had a
gun?

A. Yes, they could have.

Q. That‘s a reasonable assumption that that

police officer was making, wasn't it?

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DEF 000285

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A. Yesv

Q. Even more reasonable by the fact that you
turned away from them and you tried to go in the
house; right?

A. No.

Q. Well, you said you more likely think somebody
has a gun when they turn away from you and they refuse
for you to search them; right?

A. Right. But that's a police officer's job.
1'm not a police officer.

Q. Okay. But you understand what 1'm saying.
lsn't it more suspicious that you turned away and you
refused to let them touch you?

A. No, it wasn't like that.

Q. So itis less suspicious when you refused to
let them touch you?

MR. ANDRE: Objection, Judge, asked and
answered.l
THE COURT: Overruled. Repeat your question.
MR. ENGEBRETSON: Sure.
BY MR. ENGEBRETSON:

Q. Is it less suspicious to the police officer

when you turned your waist away from them and refused

to let them search your waistband?

DEF 000286

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A. Yes.

Q. So they should feel more comfortable then
with your refusal to listen to their orders and to
show them your waistband?

A. Can repeat it, please? I'm not good at being
questioned. 1

Q. Okay. I'll do it again. l'm sorry.

'So, Mr. Smith, when you turned away from the
police and went back into your house and you refused
to show them your waist ~~

THE COURT: Restate the question, State. He
never went back in the house.

BY MR. ENGEBRETSON:

Q. Moved towards your house --
A. I never turned my back to the police.
Q. Okay. Now, was your sister outside during

this interaction that you had with the police?
A. Yes.
Q. Where was she?
A. She‘s behind me,
Q. Did she ever get on to the sidewalk?
A. No, she did not.
Q. So she never left her yard?

A. No, she never left the yard.

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DEF 000287

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Q. The two of you were never face to face on the
sidewalk?

A. Never.

Q. And once you started, as you said, backing up

into the house, she went inside; correct?

A. She didn‘t go inside. She went up the
stairs.

Q. Okay. Did she stay on the porch up there?

A. Yes.

Q. So she saw the entire thing?

A. Not the entire thing.

Q. At what point did she leave?

A. She had left to go get my grandfather.

Q. When?

A. Once -» it had to be after --

Q. When did you see her leave?

A. When did I see? When -- this was after I was
pushed. She was already upstairs at the time, because
we was coming back ~~ l was backed up against the
stairs at the time. She was already upstairs. I
noticed she was gone once I was pushed and I took my
hoodie off.

Q. Now, this whole time that you‘re in the yard

with the two police officers, they're giving you

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DEF 000288

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orders;
A.

ground,
Q.
A.

Q.

correct?
Yeah. They're telling me to get on the
Okay. And they're trying to touch your body?
Put your hands up, Yes.

They're trying to touch different parts of

your body, and you're moving away from them; correct?

A. Yes. Yes.

Q At some point, your hands are up in the air?

A. Yes, they are.

Q. At some points, they go down behind your
back?

A. Yes.

Sometimes they go back up in the air?

A. No. That only happened once.

Q. Are you holding your hands behind your back?

A. No. Every time they grabbed, I turned away
like this.

Q. Are your hands in front of you, at your side,

or behind your back?

A.

Q.

lt was at my side.

And you're turning your shoulders back and

forth as they're trying to grab you?

A.

One was trying to grab me. It was back and

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DEF`000289

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forth. One would try to grab me, and then the other
one would try to grab. And l resist one way, this
way, and I resist again this way.

Q. And they're kind of on different sides of
you; correct?

A. At that time, yes.

Q. So you had to go back and forth between the

two of them?
A. Yes.
Q. You played football, didn‘t you?
A. Yes.
Q. What was your position?

A. My position was the line position, offensive

line and defensive line.

Q. How much do you weigh, sir? How big are you?

A. Now? Now I'm like 330.

Q. Okay. In 2015, about the same size?

A. I was like 350. Yeah, about 350.

Q. So -- and during this -- was this a zip up
hoodie or a pullover?

A. It was a pullover hoodie.

Q. All right. So even though the police are
telling you to stop, to get on the ground, all these

things, you decide to just take your shirt off;

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DEF 000290

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correct?

A. I took my hoodie off to show them -- to show
them I didn‘t have anything on me, because my pants
was already halfway down, because l was tightening my
belt up, 1

Q. So the fact that you took the hoodie off, you
knew that they were worried that you might have a gun;
right?

A. Yeah. But they didn‘t tell -- no, I did not
know. No, no, no.

Q.i Well, then why did you take your hoodie off?

A. l took my hoodie off to show them I didn‘t

have one, didn‘t have anything on me, whatever they

was looking for.

Q. But you did that because you knew that was
something they were concerned about?

A. Most likely, yes.

Q. All right. Okay. Couldn’t you just let them
search you?

A. They didn‘t tell me what they were searching
me for or that they wanted to search me. They didn‘t
tell me anything.

Q. You wanted to be in control of this

situation; right?

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DEF 000291

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A. l wanted to know what was going on.

Q. You had guestions, and you wanted them
answered?

A. Yes.

Q. And you weren‘t going to do anything until
they did things your way the way you wanted it?

A. No, it wasn't the way 1 wanted it. That's
the way that I was shown to deal with the police.

Q. To run from them?

A. No, not run from them.

Q. To avoid them?

A. Not to run from them, not to avoid them.

Don't let them do anything to you without them telling

you what‘s the reason for it. Don't let them stop you
or anything.

Q. What about the 18th District officers that
you work with and you have a good relationship with?

A. Yes.

Q. I mean, did you think that there -- you
didn‘t know these two officers; right?

A. Not at all.

Q. So I mean, you understood the safety concerns
that they would have; right?

A. Yes, I definitely understand that.

DEF 000292

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Q. Okay. So while your hands are behind you and

to the side and you're shrugging, you're actively

moving and you're actively resisting the orders of the

police officers; correct?

A. Yes.

Q. And you said then about six officers -- six
cars' worth of officers arfived?

A. l didn‘t say. l don't know how many cars.

Q. Okay. About six police officers arrived?

A. l don't know how many ~~ I don't know how
many arrived. l don't know how many arrived, but when
l was in the corner, l know it was about a good six

officers in front of me.

Q. So two that were already there and another --
about four officers?

A. Yes.

Q. And you had backed yourself kind of into the
corner of this lots right?

A. YeS.

Q. So you had a frontal view of the six officers
as they came towards you; correct?

A. Yes.

Q. All right. One of them was a female officer;

right?

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DEF 000293

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A. No.
Q. No? So it was six plus the female officer?
A. Yes. The female officer was outside. She

never came into the yard.
Q. Okay. And I'll clarify it.

All six -- because you have a chain linked

fence that you can see through; correct?

A. Yes.

Q. And, in fact, the fence only goes a little
bit above waist height: is that correct?

A. No. lt goes higher than a waist. lt looks
like that in the picture. lt comes a little bit above

the waist.

Q. A little bit above the waist?
A. Yes.
Q. And it‘s easy to see who‘s on the other side

of the fenoe?

A. Yes.

Q. So when you're saying six officers arrived -~
or excuse me -# six officers come into the yard, all
six go into the yard with you; correct?

A. No, it wasn‘t like that.

Q. Okay.

A. They didn‘t all come in at once.

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DEF 000294

Case: 1:17-Cv-O4902 Docurnent #: 49-1 Filed: 01/10/13 Page 45 of 55 Page|D #:239

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Q. How many officers came into the yard?

A. lt was two already into the yard, and when foam

looked, it was just like they appeared.

They just
came there, like. I don't know how they -~
Q. From the sky?
A. l don!t know exactly how they came running in

there, but when l looked up and I noticed it was six
officers in front of me, and I'm like -~

Q. Where did them come from?

A. -- man, like, what‘s all this for.

Q. I mean, but you understand, they didn't,
like, walk into your yard or run into your yard at

least; right?

A. Most likely.

Q. They didn‘t come out of the sky?

A. l know they didn‘t come from the sky.

Q. Well, what were you looking at? You can see
them walk up? You can see through the gate? You can

see over it? You can see through the fence?

A. I'm focusing on the ones that‘s in front of
me.

Q. Focusing on getting away from them?

A. Yes.

Q. So at that point, you're not standing with

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DEF 000295

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your hands up, You're moving around. You're looking

between the officers because you're still resisting?

A. Yes.

Q. And you're so focused on resisting these two
officers, that you then just look up and you see an
additional four officers; is that fair?

A. Yes.

Q. Now, and these four officers weren't outside
on the sidewalk. They had actually gotten into your
yard with you?

A. Yes.

Q. So -~ and this is a relatively small front

yard; is that fair to say?

A. It‘s a nice size.

Q. Well, with you and six other police officers
in that piece of grass in between the gangway,
sidewalk, and your front steps, that yard was pretty
filled with human bodies at that point; correct?

A. Yes.

Q. And still, none of the police officers other
than that one pushed by Officer Francone had pushed
you or hurt you or anything like that; correct?

_A. No, not at all.

Q. Even the additional four, they didn't put

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DEF 000296

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their hands on you or anything like that?

A.

Q.

Afterwards.

Afterwards.

So then, even though there’s six officers,

you're saying a female officer then shoots you with a

taser; correct?

A.

Q.

front; correct?

A.
Q.
A.
seen her,
Q.
correct?
A.
Q.

A.

Q.
A.
Q.
A.

Yes.

And when she shoots you, it‘s directly in

¢

No, it‘s not directly in front.

Well, she shot ydu in your stomach?

She shot me in my stomach, because once I

l turned.

And when you turned, you were facing her;

Yes.

Aii right.

At that time,

yes.

You turned your whole body?

l turned my whole body.

So you had a straight view of her; correct?

Not a straight view of her.

But you were facing her?

I was facing her,

angle towards men

Q.

.Sure.

All right.

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She was more like on an

And that's when she shot

DEF 000297

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you with the taser; correct?

A. Yes.

Q. All rightr And you heard other police
officers yelling commands at you; right? To get down?

A. To get down on the ground.

Q. All commands that you have just completely
been ignoring for the past five minutes; right?

A. Right.

Q. All right. And they're pretty close and
they're yelling these commands at you; right?

A. Yes.

_Q. So she may have said something, but you
couldn't hear her?

A. No. She'didn't say anything at all. I would
have heard her,

Q. l thought you said you weren't looking at her
and you didn't notice she was there?

A. l noticed she was there once she walked up.
When she walked up, l seen that out of my peripheral.

Q. How long did it take her to walk up?

A. l don't know.

Q. When you saw her out of your peripheral ~“
A. Not even 30 seconds.

Q. Okay. Did you see her get out of her car?

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DEF 000298

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A. No, I did not see her get out of the car,
Q. Did you see her raise the taser from her
waist?

A. NO, l did not.

Q. Okay. But you had seen her in your ~~

A. l seen a body in my peripheral, and l turned,

and when I turned, that's when l got tased.

Q. Counsel asked you a lot of questions about
these church groups you're involved with and stuff
like that. And you're a greeter?

A. Yes.

Q. When the other four officers arrived, you

still had your hands down by your side, kind of doing

the shoulder ~~ l don't know ~~ resisting, moving your
shoulders back and forth?

A. No. At that time, l was in a corner.

Q. Okay. And at that time, you had stopped?

A. l had stopped. lt was about a good -~ l‘d
say about a good minute and a half when it was just ~~
maybe about two minutes we was just standing there.

Q. Okay. So about two minutes you're standing
in the corner. You're not resisting, and it‘s just
you and those two officers?

A. Just me and the two officers.

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DEF 000299

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Q. And your hands are up for those two minutes?

A. My hands are up at that time, yes.

Q. Did you get tired having your hands up two
exactly minutes? v 1

A. lt wasn‘t two whole exactly minutes.

Q. Well, I'm asking you to tell the truth today.
How long was it?

A. I had my hands up for maybe about a good
minute, and then l put my hands down.

Q. Okay. So when the other four officers
arrived, your hands were down?

A. Yes. At the time, they was down, yeah.

Q. But.you're still just standing there?

A. Yes.

Q. So if you're just standing there, how come
you couldn't see those police officers arrive?

A. Because the officers that was in front of me,
they came on an angle, and 1'm facing the officers
that's in front of me. I didn't see them because l'm
more -~ 1'm talking to them. I‘m telling them my
background, what l do, and everything like that.

And by that time -e

Q, You got your peripherals? You got your

vision --

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DEF 000300

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A. YeS.

Q. '~_you can see a whole bunch of police
officers and flashing lights and cars arrived?

A. Yes, l understand that.

Q. So you don't have an explanation for that?

A. No. l didn't see them coming in. I didn‘t
see them coming in.

MR. ANDRE: Objection.
THE COURT: The answer will stand.
BY MR. ENGEBRETSON:

Q. When Officer Francone got out of his car, his
car didn‘t have lights or sirens activated? He just
jumped out?

A. Yes.

Q. So it wasn’t until the backup units arrived
that the lights and sirens started; right?

A. 'Correct.

Q. And that's something that you can obviously
see from far away?

A» Yes.

Q. And you could hear the officers calling for
backup while they were in the yard with you?

A. Yes, I heard them calling.for backup.

Q. They never took their guns out; correct?

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DEF 000301

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A. Took their guns out? l didn't see them take
the gun out. A gun, I never seen them take a gun out.
l didn‘t see that.»

Q. Okay. And they didn‘t put any choke holds or
try to punch-you or kick you or anything like that,
did they?

A. Well, when I was on the ground, l got knees
and hands -' l felt a lot of pressure on my back and
hand.

Q. During the handcuffing; right?

A. The handcuffing, yes.

Q. Prior tc.that, there was no kneeing or
punching or anything?

A. Other than the push, no.

Q. They just used their words; right?

A. Who?
Q. They just used their words; correct?
A. Used their words, yes.

MR. ENGEBRETSON: May l just have a moment, your
Honor?
(Brief pause.)
BY MR. ENGEBRETSON:
Q. Mr. Smith, earlier when counsel asked you

questions, you said that when Officer Francone pushed

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DEF 000302

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you, you became upset; correct?

A. Yes, l was upset.

Q. -You were angry at him?

A. l wasn't angry. l never was angry. I was
upset and scared more than anything.

Q. Okay¢» You went to the police station;

correct?

A. Yes, I did.

Q. And this whole thing started at about
9;45 p.m.; correct?

A. No, lt didn't start at ~~ it was more of
like around -~ l don't know exactly, but it was around

that, because it just stopped raining at, like, 8:30.

Q. ls it fair to say you don't know exactly what
time?

A. Yes, l don't know exactly what time.

Q. Once you went to the police, they called an

ambulance for you; correct?

A. '!es.

Q. And then the ambulance took you to the
hospital; correct?

A. Yes.

Q. And the ambulance workers, they didn't take

the barbs out of you?

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A. WhO?

Q. The ambulance workers? Like the fire
department?

A. No, they didn't. They took me ~~ the nurse
at Mt. Sinai took the prongs out.

Q. And when you went to Mt. Sinai, you were seen
by a doctor; correct?_

A. .Yes,

Q. They took the barbs out; correct?

A. Yes.

Q. And then after they took the barbs out, they
did an examination on you; correct?

A. No, they did not.

Q. Well, at no point they checked your blood
pressure?

A. Yes, they did that beforehand.

Q. Okay. So you were seen by a doctor, and they
did the examination; correct?

A. Yes.

Q. And after they took the barbs out, the doctor
cleared you and sent you back to the police
department; correct?

A. Yes.

MR. ENGEBRETSON: Nothing else, Judge.

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THE COURT: Redirect?
MR. ANDRE: No further questions, your Honor.
Thank you.
THE COURT: Mr. Smith, you can step down and
have a seat over at counsel table, please.
Ladies and gentlemen, we‘re going to just
take a short break, and then we‘ll resume.
THE DEPUTY SHERIFF: All rise for the jury.
(WHEREUPON, a recess was had
in the above matter after
which the following

proceedings were had:)

(WHEREUPON, the following was
,had in open court, in the

presence of the jury:)

THE DEPUTY SHERIFF: All rise for the jury.

THE COURT: Will everybody please be seated?
Call your next witness, please.

MS. CROCKER: Defense calls Joseph Atkins, Jr.

THE COURT: Sir, come on up here, and Heather

will give you some assistance.

THE DEPUTY SHERIFF: Step up here, sir. Step

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DEF 000305

